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                IN THE DISTRICT COURT OF THE UNITED STATES
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                             NORTHERN DIVISION

UNITED STATES OF AMERICA                     )
                                             )
       v.                                    )      CR. NO. 2:93cr310
                                             )             WO
FRANCIS WILLIAMS                             )

                                        ORDER

       Defendant Francis Williams has filed a pleading styled as a “Motion to Obtain Relief

from Judgment Pursuant to F.R.Cv.P. Rule 60(b)” (Doc. 1579), wherein she challenges the

conviction and sentence imposed upon her by this court in 1994 for a controlled substance

offense. A review of the claims presented by Williams in her motion indicates that she seeks

relief from this court that is appropriate only under the remedy provided by 28 U.S.C.

§ 2255. Accordingly, the Clerk of this court is hereby DIRECTED to:

       1. Open a civil action under 28 U.S.C. § 2255.

       2. Docket Williams’s “Motion to Obtain Relief from Judgment Pursuant to
       F.R.Cv.P. Rule 60(b)” (currently docketed as Doc. 1579 under 2:93cr310) in
       the newly opened civil action.

       3. Assign the newly opened case to the Magistrate Judge and District Judge
       to whom the instant case is assigned; and

       4. Refer the case file to the appropriate Magistrate Judge for further
       proceedings upon completion of the foregoing directives.

       Done this 2nd day of May, 2005.


                                   /s/ Delores R. Boyd
                                   DELORES R. BOYD
                                   UNITED STATES MAGISTRATE JUDGE
